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DOWD, J.



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




United States of America,                    )      CASE NO. 5:06 CR 162
                                             )
                      Plaintiff,             )
                                             )
               vs.                           )      MEMORANDUM OPINION
                                             )      ANALYZING THE SENTENCING
Ronald Dede,                                 )      FACTORS SET FORTH IN
                                             )      18 U.S.C. § 3553(a)
                      Defendant.             )



                                         I. Introduction

       The Court conducted the sentencing hearing of the defendant Ronald Dede. The Court

determined that the defendant's total offense level was 34 with a criminal history category of II

calling for a sentencing range under the advisory sentencing guidelines of 168 to 210 months. At

the conclusion of the sentencing hearing, the Court sentenced the defendant to confinement for a

period of 180 months with supervised release for a period of five years.

                       II. The Analysis Required by 18 U.S.C. § 3553(a)

       The Court sets forth its analysis of the sentencing factors required by Booker and the

statutory guidance provided by 18 U.S.C. §3553(a) as follows:
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       (a) Factors to be considered in imposing a sentence.

       The court shall impose a sentence sufficient, but not greater than necessary, to comply with

the purposes set forth in paragraph (2) of this subsection. The court, in determining the particular

sentence to be imposed, shall consider:

       (1)       The Nature and Circumstances of the Offense and the History and
                 Characteristics of the Defendant.

       In July 2003, various law enforcement agencies began to initiate an investigation into the
       drug dealing activities of the Ronald Dede Drug Trafficking Organization (DTO), after
       receiving information that Dede was a Los Angeles based supplier of cocaine distributing
       cocaine in Stark County, Ohio.

       Approximately three months of wiretaps were involved. The investigation established that
       the defendant would arrange with his Arizona suppliers for a delivery of cocaine to Canton,
       Ohio.

       Prior to the actual delivery of the cocaine, the defendant would fly into either Cleveland or
       Pittsburgh where he would be met by co-conspirators Walter Dennis, Jr. or Portia Dennis
       who would drive him to Canton, Ohio. The defendant would then collect the monies owed
       by his customers from the previous shipment of cocaine.

       Shortly after the funds were collected, Sanchez, Dawson and Epps would arrive at the same
       time as the drugs. Dawson and Epps would check to be sure that Dede had the money owed
       from the previous shipment and once they were satisfied the drugs would be delivered. In
       the last shipment on March 9, 2006, the drugs were driven here in a car with a hidden
       compartment. The load car was driven to the stash house where Dede, Dawson and Epps
       were staying. The drugs were unloaded and the money put in the car.

       Once Dede had the cocaine, he would go about the job of distributing them to his customers.
       Dede would stay in Canton a few days and then return to California until it was time to
       arrange the next shipment.

       As a result of Title III surveillance, they knew that a shipment was coming in the week of
       March 9, 2006. Law enforcement surveilled the load car to the stash house on Baldwin
       Avenue, where Dawson and Epps carried a duffle bag and laundry basket to the garage.
       Once the delivery was made in the garage, the load car was returned to the custody of the



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       "mule," co-defendant David Mayberry. When the highway patrol pulled the load car over
       for a traffic stop they discovered approximately $956,000 in cash hidden in the trunk.

       During the course of the Title III telephone surveillance, there were times when Ronald Dede
       requested Portia Dennis to wire him small amounts of money to pay bills. She and her
       brother stored drug money from the sale of the kilos pending the defendant's return to
       Canton, Ohio.

       Search warrants were issued and 52 kilograms were found in the garage at the stash house.
       Numerous weapons were found in the stash house.

       According to the government, an inventory sheet uncovered a number of firearms found in
       the northwest bedroom which was associated with the defendant.

                         Adjustment for Acceptance of Responsibility

       On August 15, 2006, the defendant was interviewed, in the presence of counsel, and
       provided the following statement, which is included verbatim:

       "I accept responsibility for the crime I committed. I am very sorry for what I did.
       I did this crime, because of money situations and family pressures. I will never
       commit another crime. I will not sell any more drugs what so ever in my life. I will
       be working a regular job when I get back in society, and staying home with my
       family, and grand kids, also I will be working on opening a Optemery Business,
       working on eyeglasses, and keeping busy with my local church functions." [sic]

       The defendant is 54. He has one dependent child. He has a college degree. He was the only

child born to the marriage of his parents which ended in legal separation when the defendant was

approximately ten. He was raised by his mother and had no contact with his father after the

separation of his parents and never established a relationship with his father before his death 30

years ago. His mother died 15 years ago. The defendant has never married but fathered four

children with three women and he contends that he maintains contact with each of his children who

range in age from 35 to 13. He was living in California at the time of his arrest.




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          The defendant reports that his health is good but does take medicine for high blood pressure.

          The defendant acknowledges a history of substance abuse which includes marijuana and

cocaine. The defendant's educational history is unusual. He quit after the 8th grade but subsequently

obtained a GED and indicates he enjoys a Bachelor of Science degree in Political Science from

CalState University in Los Angeles, California. The defendant has a very spotty employment

record.

          The defendant, through newly appointed defense counsel, filed a sentencing memorandum

on August 24, 2007. (See Docket No. 278). The defendant reports that since his incarceration, he

has attended in excess of 75 AA meetings and attached a sign-in list in support of the representation.

          (2) The need for the sentence imposed.

          (A) to reflect the seriousness of the offense, to promote respect for the law, and
          to provide just punishment for the offense

          The defendant played the major role in the interstate trafficking of cocaine which resulted

in the indictment involving multiple defendants as well as the seizure of a large quantity of cocaine

and currency in excess of $1.5 million. The defendant has a prior conviction for a drug offense in

the Central District of California. It appears that the defendant was committed to a life of crime

involving distribution and sale of large quantities of cocaine.

          As a consequence, a substantial sentence is required to reflect the seriousness of his criminal

conduct and promote respect for the law.

          The defendant's cooperation with the government and the prosecution of the other defendants

in this case has merited a downward departure for substantial assistance. Against that background,



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the Court finds that a sentence of 180 months is sufficient to reflect the seriousness of the conduct

and reflect the seriousness of the law.

       (B) to afford adequate deterrence to criminal conduct

       A lengthy sentence is absolutely necessary to provide adequate deterrence to criminal

conduct of the type and nature which this defendant engineered and affected the general community

of the greater Canton, Ohio area. A sentence of 180 months will, in the Court's opinion, provide

adequate deterrence for the type of criminal conduct which this man in his 50's decided was a proper

endeavor in spite of the risks involved to not only himself but also to members of the community.

       (C) to protect the public from further crimes of the defendant

       The defendant will be approaching 70 by the time of his release from confinement.

Hopefully, the defendant will choose to avoid further criminal conduct in the view that it is not

worth the risk

       (D) to provide the defendant with needed educational or vocational training,
       medical care, or other correctional treatment in the most effective manner

       The defendant should have the opportunity to engage in a drug treatment program prior to

his release so that he does not revert to the use of drugs. The defendant has a limited employment

background. Presumably, he will have the opportunity, while incarcerated, to participate in Prison

Industries and possibly learn a trade that will give him the opportunity to find gainful employment

upon release, even at his age.

                 III. Consideration of the Need to Avoid Unwarranted Sentencing
                   Disparities Among Defendants Who Have Been Found Guilty
                     of Similar Conduct as Required by 18 U.S.C. § 3553(a)(6)



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       The indictment in this case names the following defendants:

                 1.    Ronald Dede
                 2.    Craig Dawson
                 3.    Oswaldo Sanchez
                 4.    Hakim Malek Ali
                 5.    Letricia Epps
                 6.    Ronald Lucas
                 7.    Rodney Petties
                 8.    Charles Petties
                 9.    Walter Dennis, Jr.
                 10.   David Mayberry
                 11.   Portia Dennis

       At this point in the sentencing process, the Court has sentenced the following defendants to

the following terms of imprisonment after finding, with respect to each defendant, the offense level

and the criminal history:

1.     Craig Dawson - Offense level 34 with a criminal history category of I calling for a
       sentencing range of 151 months to 188 months with an imposed sentence of 151 months
       imprisonment with five years supervised release.

2.     Letricia Epps – Offense level 31 with a criminal history category of III calling for a
       sentencing range of 135 to 168 months with an imposed sentence of 135 months
       imprisonment with five years supervised release.

3.     Ronald Petties – Offense level 31 with a criminal history category of I calling for a
       sentencing range of 120 to 135 months with an imposed sentence of 124 months
       imprisonment with five years supervised release.

4.     Charles Petties – Offense level 23 with a criminal history category of II calling for a
       sentencing range of 51 to 63 months with an imposed sentence of 63 months imprisonment
       with four years supervised release.

5.     David Mayberry – Offense level 26 with a criminal history category of I calling for a
       sentencing range of 63 to 78 months with an imposed sentence of 70 months imprisonment
       with four years supervised release.




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6.     Ronald Lucas – Offense level 27 with a criminal history category of I calling for a
       sentencing range of 70 to 87 months with an imposed sentence of 84 months imprisonment
       with five years supervised release.

7.     Hakim Malik Ali – Offense level 29 with a criminal history category of II calling for a
       sentencing range of 97 to 121 months with an imposed sentence of 97 months imprisonment
       with five years supervised release.

8.     Walter Dennis, Jr. – Offense level 27 with a criminal history category of II calling for a
       sentencing range of 78 to 97 months with an imposed sentence of 78 months imprisonment
       with five years supervised release.

9.     Portia Dennis – Offense level 21 with a criminal history category of III calling for a
       sentencing range of 46 to 57 months with an imposed sentence of 27 months imprisonment
       with two years supervised release.

       The following defendant has not been sentenced:

       Oswaldo Sanchez (Fugitive)

                                        IV. Conclusion

       For the reasons set forth herein, a sentence of 180 months with supervised release for five

years and within the advisory guideline range, is a sentence sufficient, but not greater than

necessary, to comply with the purposes of 18 U.S.C. §3553(a)(2) and (4).



       IT IS SO ORDERED.



August 27, 2007                               /s/ David D. Dowd, Jr.
Date                                        David D. Dowd, Jr.
                                            U.S. District Judge




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